                                                                          Case 3:22-cv-01056-AJB-AGS Document 99 Filed 10/06/22 PageID.1896 Page 1 of 4




                                                                            1 JOSEPH R. LAMAGNA (State Bar No. 246850)
                                                                              JORDAN KEARNEY (State Bar No. 305483)
                                                                            2 HOOPER, LUNDY & BOOKMAN, P.C.
                                                                              101 W. Broadway, Suite 1200
                                                                            3 San Diego, California 92101
                                                                              Telephone: (619) 744-7300
                                                                            4 Facsimile: (619) 230-0987
                                                                              E-Mail: jlamagna@health-law.com
                                                                            5         jkearney@health-law.com
                                                                            6 DEVIN M. SENELICK (State Bar No. 221478)
                                                                              TARYN A. REID (State Bar No. 328772)
                                                                            7 HOOPER, LUNDY & BOOKMAN, P.C.
                                                                              1875 Century Park East, Suite 1600
                                                                            8 Los Angeles, California 90067
                                                                              Telephone: (310) 551-8111
                                                                            9 Facsimile: (310) 551-8181
                                                                              E-Mail: dsenelick@health-law.com
                                                                           10         treid@health-law.com
                                                                           11 Attorneys for Plaintiff
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12 MAGALY VELASQUEZ, D.D.S.
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                              9130 Foothill Blvd.
                                                                           13 Rancho Cucamonga, CA 91730-3499
                                                                           14 Telephone: (909) 552-9087
                                                                           15 Defendant In Pro Per
                                                                           16                        UNITED STATES DISTRICT COURT

                                                                           17                     SOUTHERN DISTRICT OF CALIFORNIA

                                                                           18 BORREGO COMMUNITY HEALTH                      Case No. 3:22-cv-01056-AJB-AGS
                                                                              FOUNDATION, a California nonprofit
                                                                           19 public benefit corporation,                   Hon. Anthony J. Battaglia
                                                                           20               Plaintiff,

                                                                           21        vs.                                    JOINT MOTION TO EXTEND
                                                                                                                            TIME TO FILE RESPONSE TO
                                                                           22 KAREN HEBETS, an individual;                  COMPLAINT
                                                                              MIKIA WALLIS, an individual;
                                                                           23 DIANA THOMPSON, f/k/a DIANA                   Complaint served: 8/19/22
                                                                              TRONCOSO, an individual;                      Complaint response due: 9/9/22
                                                                           24 HARRY ILSLEY, an individual;                  Proposed response date: 10/26/22
                                                                              DENNIS NOURSE, an individual;
                                                                           25 MIKE HICKOK, an individual;
                                                                              CHUCK KIMBALL, an individual;                 Trial Date:         None Set
                                                                           26 PREMIER HEALTHCARE
                                                                           27 MANAGEMENT, INC., a California
                                                                              Corporation; SUMMIT
                                                                           28 HEALTHCARE MANAGEMENT,
                                                                                                                                            Case No. 3:22-cv-01056-AJB-AGS
7264537.1                                                                                    JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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                                                                            1 INC., a California Corporation;
                                                                              DARYL PRIEST, an individual;
                                                                            2 NICHOLAS PRIEST, an individual;
                                                                              TRAVIS LYON, an individual;
                                                                            3 HUSAM E. ALDAIRI, D.D.S., an
                                                                              individual; ALDAIRI DDS, INC., a
                                                                            4 California corporation; AYED
                                                                            5 HAWATMEH, D.D.S., an individual;
                                                                              HAWATMEH DENTAL GROUP,
                                                                            6 P.C., a California Corporation;
                                                                              ALBORZ MEHDIZADEH, D.D.S., an
                                                                            7 individual; ALBORZ MEHDIZADEH,
                                                                              INC., a California Corporation;
                                                                            8 JILBERT BAKRAMIAN, D.D.S., an
                                                                              individual; MOHAMMED
                                                                            9 ALTEKREETI, D.D.S., an individual;
                                                                              MAGALY VELASQUEZ, D.D.S., an
                                                                           10 individual; MAGALY M.
                                                                           11 VELASQUEZ       DDS PROFESSIONAL
HOOPER, LUNDY & BOOKMAN, P.C.




                                                                              DENTAL CORP., a California
                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12 Corporation; ARAM ARAKELYAN,
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                              D.D.S., an individual; NEW
                                                                           13 MILLENNIUM DENTAL GROUP OF
                                                                              ARAM ARAKELYAN, INC., a
                                                                           14 California Corporation; MICHAEL
                                                                              HOANG, D.M.D., an individual;
                                                                           15 WALEED STEPHAN, D.D.S., an
                                                                              individual; W.A. STEPHAN, A
                                                                           16 DENTAL CORPORATION,
                                                                              a California Corporation; SANTIAGO
                                                                           17 ROJO, D.D.S., an individual;
                                                                              SANTIAGO A. ROJO, D.D.S., INC., a
                                                                           18 California Corporation; MARCELO
                                                                              TOLEDO, D.D.S., an individual;
                                                                           19 MARCELO TOLEDO, D.D.S., INC., a
                                                                              California corporation; MARLENE
                                                                           20 THOMPSON, D.D.S., an individual;
                                                                              MARLENE THOMPSON, D.D.S.,
                                                                           21 INC., a California Corporation;
                                                                              DOUGLAS NESS, D.D.S., an
                                                                           22 individual; NESS DENTAL
                                                                              CORPORATION, a California
                                                                           23 Corporation; GEORGE JARED,
                                                                              D.D.S., an individual; GEORGE
                                                                           24 JARED, D.D.S., INC., a California
                                                                              corporation; JAMES HEBETS, an
                                                                           25 individual; THE HEBETS COMPANY,
                                                                              a Missouri Corporation; and DOES 1-
                                                                           26 250, inclusive,
                                                                           27              Defendants.
                                                                           28

                                                                                                                        2                  Case No. 3:22-cv-01056-AJB-AGS
7264537.1                                                                                   JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
                                                                          Case 3:22-cv-01056-AJB-AGS Document 99 Filed 10/06/22 PageID.1898 Page 3 of 4




                                                                            1         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Rules
                                                                            2 7.2 and 12.1, Plaintiff Borrego Community Health Foundation (“Plaintiff”) and
                                                                            3 Defendant Magaly Velasquez, D.D.S. (Plaintiff and Defendant collectively, the
                                                                            4 “Parties”), by and through their respective counsel, hereby stipulate to and jointly
                                                                            5 move the Court for an extension of time within which Defendant may answer or
                                                                            6 otherwise respond to the Complaint in this matter, up to and including October 26,
                                                                            7 2022.
                                                                            8         Good cause exists to warrant an extension of time for Defendant to file an
                                                                            9 answer or otherwise respond to the Complaint for the following reasons:
                                                                           10         WHEREAS, Defendant Magaly Velasquez, D.D.S. was served with the
                                                                           11 Summons and Complaint on August 19, 2022;
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                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12         WHEREAS, Magaly Velasquez’s, D.D.S., deadline for filing an answer,
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                           13 motion or other response to the Complaint was September 9, 2022;
                                                                           14         WHEREAS, the Defendant has requested and Plaintiff has consented to
                                                                           15 additional time for the Defendant to file an answer, motion, or other response to the
                                                                           16 Complaint;
                                                                           17         WHEREAS, extending the deadline will allow the Defendant additional time
                                                                           18 to evaluate the allegations in the Complaint which includes 762 paragraphs, spans
                                                                           19 154 pages, and attaches 546 pages of exhibits;
                                                                           20         WHEREAS, extending the current deadline for the Defendant’s response to
                                                                           21 the Complaint would not delay the case;
                                                                           22         WHEREAS, there are over 40 defendants in the above-captioned action and
                                                                           23 Plaintiff seeks to stagger the responsive pleading deadlines to allow for meaningful
                                                                           24 briefing should it be necessary; and
                                                                           25         WHEREAS, extending the deadline to respond is in the best interests of the
                                                                           26 Parties, judicial economy and justice.
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                                                                                                                         3                  Case No. 3:22-cv-01056-AJB-AGS
7264537.1                                                                                    JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
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                                                                            1        The Parties hereby respectfully request that the Court grant this Joint Motion
                                                                            2 and issue an Order extending the deadline for Defendant to file a response to the
                                                                            3 Complaint to October 26, 2022.
                                                                            4        IT IS SO STIPULATED.
                                                                            5
                                                                            6 DATED: October 5, 2022                HOOPER, LUNDY & BOOKMAN, P.C.
                                                                            7
                                                                            8
                                                                                                                    By:
                                                                            9
                                                                                                                                   TARYN A. REID
                                                                           10                                       Attorneys for Plaintiff Borrego Community
                                                                           11                                       Health Foundation
HOOPER, LUNDY & BOOKMAN, P.C.


                                TEL (619) 744-7300 • FAX (619) 230-0987




                                                                           12
                                   101 W. BROADWAY, SUITE 1200
                                   SAN DIEGO, CALIFORNIA 92101




                                                                                DATED: October 5, 2022
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                                                                                                                         4                  Case No. 3:22-cv-01056-AJB-AGS
7264537.1                                                                                    JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
